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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



  In re:
                                                        Chapter 7
  NATIONAL BROKERS OF AMERICA,
                                                        Case No: 19-15488-pmm
                                Debtor.


 CERTIFICATE OF NO RESPONSE REGARDING FIRST AND FINAL APPLICATION
   FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GELLERT
 SEITZ BUSENKELL & BROWN LLC AS SPECIAL COUNSEL TO THE CHAPTER 7
                             TRUSTEE

           On February 27, 2025, Gellert Seitz Busenkell & Brown, LLC (“Applicant”), as special

 counsel to the Trustee, Robert H. Holber (the “Trustee”), filed the First and Final Application for

 Compensation and Reimbursement of Expenses of Gellert Seitz Busenkell & Brown LLC as Special

 Counsel to the Chapter 7 Trustee (the “Motion”). On February 27, 2025, Applicant also filed the

 Notice of the Motion. Responses to the Motion were due on or before March 13, 2025. This

 Court’s docket reflects that no objections were filed to the Motion. Additionally, no objections to

 the Motion have been received by the Applicant. Accordingly, the Applicant respectfully requests

 that the Order attached to the Motion be entered at the Court’s earliest convenience.


  Dated: March 14, 2025                      GELLERT SEITZ BUSENKELL & BROWN, LLC


                                             By: /s/ Holly S. Miller
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